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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


   ELIZABETH SINES, et al.,

                       Plaintiffs,
   v.
                                                          Civil Action No. 3: 17-cv-00072-NKM
   JASON KESSLER, et al.,
                                                          JURY TRIAL REQUESTED
                      Defendants.


        PLAINTIFFS’ AMENDED AND CORRECTED DEPOSITION DESIGNATIONS

         Plaintiffs, by and through their counsel, respectfully submit the following designations of

 deposition testimony.

         Plaintiffs reserve the right to: (a) use audio and/or video deposition excerpts and/or create

 demonstrative exhibits; (b) use any deposition designations listed by Defendants; (c) supplement

 these designations with those of any persons listed as trial witnesses by any party in the event

 that such witnesses are not available to testify at trial or are not called at trial; (d) designate

 additional portions of deposition transcripts for the purpose of authentication of documents, if

 required; (e) designate any deposition testimony taken after the date of these designations; and

 (f) use any and all deposition and/or trial testimony, whether or not designated, for cross-

 examination, impeachment, or rebuttal purposes.
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on October 8, 2021, I filed the foregoing with the Clerk of Court
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        I hereby certify that on October 8, 2021, I also served the foregoing upon following pro
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